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                                                                                             Pulasxl Counly Circuit Court
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                IN THE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                  CIVIL DIVISION
 KJMBERLY MARSH;
 SCOTT MARSH;
 RYAN MARSH; and
 RYLEE MARSH
 Plaintiffs
 v.                                                    Case No.: 60CV-19-_ _
CHRISTINE L. FLETCHER, and
DANNY HERMAN TRUCKING, INC.
Defendants

                                           COMPLAINT

        Come now the Plaintiffs, Kimberly Marsh, Scott Marsh, Ryan Marsh, and Rylee Marsh, by

and through their attorneys, Taylor King Law, P.A., and for their cause of action against Christine

L. Fletcher and Danny Herman Trucking, Inc., do allege and state:

                          PARTIES, .ruRJSDICTION AND VENUE
        1.     That the Plaintiffs are residents of Pulaski County, Arkansas,

        2.     That Defendant Christine L. Fletcher is a resident of Colbert, Georgia.

        3.     That the Defendant Danny Herman Trucking, Inc. is a co1poration registered to do

business in Tennessee, with an agent for service listed as BarbaraH. Seals, 339 Cold Springs Road,

Mountain City, Tennessee 37683~4023.

       4.      That thls Court has jurisdiction of the parties and the subject matter herein, and that

this Court is the proper venue for this cause of action, pursuant to ACA 16-60~ 112.



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                   FACTUAL BACKGROUND COMMON TO ALL COUNTS

         5.       On or about Jm1e 22, 2018, at approximately 6:25 p.m., the Plaintiffs Kimberly

Marsh, Scott Marsh, and Rylee Marsh were traveling in a 2008 Honda CR-V west on I-40 in the area

of the 149 mile marker in the middle lane of traffic. Defendant Washington was driving a 2019

Kenworth diesel tractor truck west on !~40 in the area of the 149 mile marker in the middle la11e of

traffic, behind Plaintiffs' vehicle. The vehicle driven by Christine L. Fletcher was owned by Danny

Herman Trucking, Inc ..

         6.       Plaintiffs Kimberly Marsh, Scott Marsh, and Rylee Marsh were en route to assist

Plaintiff Ryan Marsh who's vehicle was disabled on the left westbom1d shoulder in the area of the

149 mile marker. PlaintiffKimberly Marsh turned on her blinker and began merging into the left lane

to then merge onto the shoulder to assist her stranded son, Plaintiff Ryan Marsh.

        7.       After the Plaintiff Kimberly Marsh merged into the left lane, Defendant Fletcher

struck the Plaintiffs Kimberly Marsh, Scott Marsh, and Rylee Marsh'.s vehicle, causing them to be

pushed off of the highway an~ into the middle of the median.

        8.       Defendant Fletcher did also strike the PlaintiffRyan Marsh's disable vehicle, that was

sitting still on the left side· of the road.

        9.       The collision resulted in property damage to the Plaintiffs' vehicle and serious

personal injury to the Plaintiffs.


                   COUNT I; NEGLIGENCE OF CHRISTINE L. FLETCHER

        10.      Plaintiffs re-allege and incorporate herein by reference the allegations contained in

paragraphs IMIO inclusive as part of this Count.

        11.      Plaintiffs allege that the Defendant Fletcher was negligent in the following respects:


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                (a)     The Defendant failed to keep a proper lookout on the roadway;

                (b)     The Defendant failed to keep her vehicle under reasonable control;

                (c)     The Defendant failed to make proper use of the instrumentalities in her

                        control so as to avoid a collision when she saw, or in the ~xercise of ordinary

                        care should have seen, Plaintiffs' vehicles;

                (d)     The Defendant failed to bring her vehicle tmder control or to change or divert

                        its course when she saw, or in the exercise of ordinary care should have seen,

                        that a wreck was about to occur; and

                (e)     The Defendant failed to drive at a speed that was reasonable and prudent

                        under the circumstances, having due regard for any actual or potential

                        hazards.

        12.     As a direct and proximate result of the Defendant's negligence, a collision resulted,

and the Plaintiffs suffered physical injuries throughout her body.

        13.     As a further direct and proximate result of_the Defendant's negligence and of the

Plaintiffs' injuries, the Plaintiffs suffered great pain, suffering, and mental anguish and will continue

to suffer these conditions into the future.

        14.     As a further direct and proximate result of the Defendant's negligence and of the

Plaintiffs' injuries, the Plaintiffs were placed under the care of physicians and have incurred medical

expenses and will incur medical expenses in the future.


  COUNT II: VICARIOUS LIABILITY OF DANNY HERMAN TRUCIONG, INC. FOR
               THE NEGLIGENCE OF CHRISTINE L. FLETCHER

        15.     Plaintiffs re-allege and incorporate herein by reference the allegations contained in

paragraphs 1-15 inclusive as part of this Count.

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        16.    Plaintiffs allege that, at all times relevant hereto, Separate Defendant Fletcher was

operating within the course and scope of her employment with Danny Herman Trncking, Inc.

        17.    At the time of the wreck at issue in this case, Separate Defendant Fletcher was

operating a vehicle owned by her employer, Danny Herman Trucking, Inc ..

        18.    At the time of the wreck at issue in this case, Separate Defendant Fletcher was

operating within the course and scope of her employment.

        19.    The injuries and damages to the Plaintiffs, more particularly described above, were

directly and proximately caused by negligence on the part of Fletcher, which is imputable to her

employer, Danny Herman Trucking, Inc., for purposes ofvivarious liability, because Fletcher was

at all times herein acting within the scope and course of her employment.

       20,     At all relevant time periods, Defendant Danny Herman Trucking, Inc. was a "motor

carrier" and an "employer" of drivers of"commercial motor vehicles" as defined by 49 C.F.R. parts

382 et seq. of the Federal Motor Carrier Safety Regulations (hereinafter, "FMCSR"). Defendant

Danny Herman Trucking, Inc. was subject to the mandatory requirements and prohibitions set out

therein, including duties imposed to ensure that its commercial motor vehicle drivers acted in

compliance with these federal regulations.

       21.    The FMCSR is mandatory law for all motor can'iers operating in interstate commerce.

The purpose of the FMCSR is to ensure that all motor carriers maintain adequate basic safety

management controls in their operations, including the duty of the motor carrier to require

observance by its employees of any duty or prohibition prescribed by the FMCSR.

       22.     Observance ofduties placed on motor carriers by the FMCSR includes a mandate that

an employer train and supervise its employees to ensure that the drivers operate commercial motor



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vehicles in a safe manner and only at times that the driver's ability or alertness is not impaired

through fatigue, illness, or any other cause.

        23.     Pursuant to sections 390.03(e)(l), 390.11, every employer of a commercial vehicle

driver shall be knowledgeable of and comply with all regulations applicable to that motor carrier's

operations and it shall be the duty of the motor carrier to require observance of any duty prescribed

for a driver or any prohibition imposed upon the driver.

        24.     Pursuant to section 392.1, every motor carrier, its officers, agents, representatives,

and employees responsib~e for the management, maintenance, operation, or driving of commercial

motor vehicles, or the hiring, supervising, training, assigning,. or dispatching of drivers, shall be

instructed in and comply with the FMCSR.

       25.      Pursuant to Section 390.13 oftheFMCSR, no person shall aid, abet, encourage, or

require an employee of a motor carrier to violate the FMCSR.

       26.      Defendant Danny Herman Trucking, Inc. violated § 383.11 in failing to train its

drivers in procedures of safe vehicle control; the importance of understanding the effects of speed

control for traffic conditions, traffic flow, stopping distance, and visibility; the importance ofproper

visual search and proper visual search methods; the procedures and techniques for controlling the

space around the vehicle; and basic information concerning when and how to make emergency

maneuvers, including evasive steering and emergency stop.

       27.     The FMCSR, including those section cited above, are adopted and enforced by the
State of Arkansas as standards and law ofthis State, pursuant to the Arkansas Uniform Commercial

Driver License Act, Arkansas Code sections 27-23-101 et seq., and the Arkansas State Highway

Commission Regulations, Minute Order Revisions, Commercial Motor Carriers, Rule 17.1.


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         28.    Prior to and/or at the time of the June 22. 2018 wreck, Defendant Danny Herman

Trucking, Inc. violated the above -cited safety laws and regulations. These violations ofthe FMCSR

are negligence per se and were a direct and proximate cause of the injures and damages alleged

herein and are the type of iajuries the above-cited safety law and regulations were designed to

prevent.

         29.    The Federal Motor Carrier Safety Regulations, including those sections cited above,

are adopted and enforced by the State of Arkansas as standards and law ofthis State, pursuant to the

Arkansas Unifo1m Commercial Driver License Act, Arkansas Code sections 27M23-101 et seq., and

the Arkansas State Highway Commission Regulations. Minute Order Revisions, Commercial Motor

Carriers, Rule 17 .1.

         30.    Defendant Danny Hennan Trucking, Inc. entrusted the tractorMtrailer to Defendant

Fletcher, whom it knew, or should have known, was without proper training, experience, and ability

to safely operate a commercial tractor-trailer rig, in a manner that created a foreseeable, appreciable,

and unreasonable risk of harm to third-parties, namely persons traveling on public roads and

highways, like the Plaintiff.

         31.   All of the h~uries and damages complained of in the initial complaint were

foreseeable and proximately resulted from the negligence of Defendant Danny Herman Trucking~

Inc ..

         32.   The personal injuries incurred by the Plaintiffs are the type of injuries the above-cited

safety laws and regulations were designed to prevent.




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 DIRECT NEGLIGENCE OF DANNY HERMAN TRUCKING. INC. FOR NEGLIGENT
                 FAILURE TO TRAIN AND SUPERVISE

        33.      Plaintiffs incorporate herein by reference paragraphs 1 through 33 inclusive as part

of this Count.

       34.       In addition to vicarious liability for negligent ~onduct, injuries and damages caused

by Fletcher, Danny Herman Trucking, Inc. is also directly and independently liable for injuries and

dam.ages proximately caused by its own negligent acts and omissions.

       35.       Defendant Danny Herman Trucking, Inc. failed to have a~equate policies and

procedures in place for how to assess, and respond to a situation invol Ying a disabled vehicle on the

side of the road, and how to avoid a collision with a vehicle directly in front of a driver employed

by Danny Herman Trucking, Inc.

       36.       Defendant Danny Henna.11 Trucking, Inc .. was negligent in the hiring, training,

retaining and supervising of its employees, including Defendant Fletcher, to wit:

                 (a)    Defendant Danny Hennan Trucking, Inc. lmew or should have
                        known that Defendant Fletcher was not competent, satisfactory,
                        or safety-conscious to operate the tractor-trailer she was employed
                        to drive;

                 (b)    Defendant Danny Herman Trucking, Inc. misjudged or
                        overestimated the skills and ability of Defendant Fletcher to drive
                        its vehicles;

                 (c)    Defendant Danny Herman Trucking, Inc. failed to train, educate,
                        direct, prepare, set policy, or give guidance to its employees such
                        as Defendant Fletcher in the use ofits vehicles, particularly in the
                        areas of safety and defensive driving, in stopping distances for the
                        tractor-trailer she was operating, including, but not limited to,
                        effective use of the Smith System; and

                 (d)    Defendant Danny Herman Trucking, Inc. permitted Defendant
                        Fletcher to operate its commercial motor vehicle on June 22,
                        2018, when she was unqualified and inadequately trained to do
                        so.

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       37.        The negligence of Defendant Danny Herman Trucking, Inc. in hiring, training,

retaining and supervising Defendant Fletcher was a proximate cause of the injuries and damages

alleged herein.

       38,        A reasonably careful motor carrier, operating under similar circumstances, would

foresee that the failures in duties of care listed above would result in devastating injuries to other

persons traveling on public highways, like the Plaintiff.

       39.        Defendant Danny Herman Trucking, Inc. violated the Federal Motor Carrier Safety

Regulations, including but not limited to: ·

                  (a)    Violation of§ 383.111 in failing to train its drivers in procedures
                         for safe vehicle control; the importance of understanding the
                         effects of speed control for traffic conditions, traffic flow,
                         stopping distance, and visibility; the 'importance of proper visual
                         search and proper visual search methods; the procedures and
                         techniques for controlling the space around the vehicle; and basic
                         infonnation concerning when and how to make emergency
                         maneuvers, including evasive steering and emergency stop;

                  (b)    Violation of§ 391.11 and§ 391.15(a) requinng a motor carrier
                         not to permit a person to drive a commercial motor vehicle unless
                         that person is qualified to drive a commercial motor vehicle;

                  (c)    Violation of§ 392.2 providing that every commercial motor
                         vehicle operating in this state must be operated in accordance
                         with the laws, ordinances, and regulations of the State of
                         Arkansas;

                  (d)    Violation of§ 392.3 mandating in relevant part that a commercial
                         motor carrier shall not require or 'pennit a driver to operate a
                         commercial motor vehicle, while the driver's ability or alertness
                         is so impaired, or so likely to become impaired, through fatigue,
                         illness, or any other cause, as to make it wisafe for him to begin
                         or continue to operate a commercial motor vehicle;

                  (e)    Violation of§ 395.8 requiring drivers to complete and preserve
                         an accurate and up to date record of duty status that must be
                         signed and certi;fie~ by the driver as true and correct entries. The

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                       completed forms must also be turned into the motor canfor within
                       13 days of the completion of the fonn;

               (f)     Violation of §395.3 defining maximum driving and on-duty times
                       for drivers, and mandating accurate logging and record-keeping
                       relating to such driving and on-duty"times; and

               (g)     Violation of§ 395.8 requiring creation of a current record of
                       drivers' hours:.of"service and duty status.

       40.     The Federal Motor Carrier Safety Regulations, including those sections cited above,

are adopted and enforced by the State of Arkansas as standards and law of this State, pursuant to the

Arkansas Uniform Commercial Driver License Act, Arkansas Code sections 27-23-101 et seq., and

the Arkansas State Highway Commission Regulations, Minute Order Revisions, Commercial Motor

Cmiers, Rule 17.1.

     · 41. · Prior to and/or at the time ofthe June 22, 2018, Defendant Danny Hennan Trucking,

Inc. violated each of the above"cited safety laws and regulations. These violations of the FMSCR

are further evidence of negligent conduct by Defendant Danny Herman Trucking, Inc..

       42.     Defendant Danny Herman Trucking,Inc. 's violations ofthe above-cited statutes and

regulations were a direct and proximate cause of the injuries and damages alleged herein.

       43.     The injuries inflicted on the Plaintiff are the type of injuries the above-cited safety

law and regulations were designed to prevent.

       44.     The above-described conduct by Defendant Danny Herman Trucking, Inc. was

willful, wanton, reckless, malicious and/or intentional.

       45'.    In addition to punitive damages based upon its vicarious liability for the conduct of

Defendant Fletcher, Defendant Danny Herman Trucking, Inc. also is liable for punitive damages for

its own conduct. Danny Herman Trucking, Inc. knew, or in the exercise ofordinary care should have

known in light of the surrounding circumstances, that the above-described negligent conduct on its

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part would naturally and probably result in injury to others, yet it continued such conduct in reckless

disregard of the consequences. Thus, punitive damages should be imposed against Danny Herman

Trucking, Inc. due to its own conduct as set out above.

        46.     As a direct and proximate result of the negligent acts and omissjons of Defendant

Danny Herman Trucking, Inc., the Plaintiff asserts claims for all compensatory               and punitive
damages, including, but not limited to, the physical injuiies described herein, pain and suffering,

mental anguish, loss ofconsortium, loss of ser_vices and contributions, medical expenses, care tal<lng

and custodial care and property damage, including any such damages reasonably certain to be

incurred in the future, in an amount to be determined by the jury, plus the costs of this litigation, and

all of the relief to which the Plaintiff is entitled to by law, all in an amount in excess ofthat necessary

for federal diversity jurisdiction.

        47.     As a direct and proximate result ofthe'Defendants' negligence, a collision resulted,

and the Plaintiff suffered physical injuries throughout her body.

        48.     As a further direct and proximate result of the Defendants' negligence and of the

Plaintiffs injuries, the Plaintiffsuffered great pain, suffering, and mental anguish and will continue

to suffer these conditions into the future.

        49.     As a further direct and proximate result of the Defendant's negligence and of the

Plaintiff's injuries, the Plaintiff was placed under the care of a physician and has incurred medical

expenses and will incur medical expenses in the future,

        WHEREFORE, the Plaintiffs, Kimberly Marsh, Scott Marsh, Ryan Marsh, and Rylee Marsh

respectfully pray for judgment against the Defendants, Christine L. Fletcher, Danny Herman

Trucking, Inc., in a sum which is in excess of the amount required for federal diversity jurisdiction,

for a reasonable attorney's fee, and for all other proper relief to which they may be entitled. The

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Plaintiffs respectfully demand a lrial by jmy, and they reserves lbe right to plead and amend fUtther

herein.


                                              Rcspect:fuJly Submitted,

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                                              By:




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